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8                        UNITED STATES DISTRICT COURT
9                       EASTERN DISTRICT OF CALIFORNIA
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12   GARY PALMER,
                                           No. 2:05-cv-1935-MCE-GGH
13               Plaintiff,
14        v.                               ORDER
15   CHELSEA FINANCING
     PARTNERSHIP, LP, CLAIRE’S
16   BOUTIQUES, INC. dba CLAIRE’S
     BOUTIQUES, et al.
17
                 Defendants.
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20        Defendant Claire’s Stores, Inc. (erroneously sued herein as
21   CLAIRE’S BOUTIQUES, INC. dba CLAIRE’S BOUTIQUES) (“Claire’s”) has
22   filed a Motion to Dismiss Plaintiff’s Complaint for failure to
23   state a claim upon which relief can be granted pursuant to Rule
24   12(b)(6) of the Federal Rules of Civil Procedure (“FRCP”) and
25   lack of subject matter jurisdiction pursuant to Rule 12(b)(1) of
26   the FRCP.
27        On January 6, 2006, Plaintiff filed a Notice of Non-
28   opposition to Defendant’s motion.
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1         In light of the foregoing Notice of Non-opposition, and good
2    cause appearing therefor, Defendant’s motion is hereby GRANTED.1
3    Defendant Claire’s is dismissed, with prejudice, from this case.
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5         IT IS SO ORDERED.
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7    DATED: January 20, 2006
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10                                    _____________________________
                                      MORRISON C. ENGLAND, JR
11                                    UNITED STATES DISTRICT JUDGE
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           Because oral argument would not be of material assistance,
     this matter was deemed suitable for decision without oral
28   argument. E.D. Local Rule 78-230(h).

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